                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  CANTON DIVISION

 In Re:                                            Case No. 21-60966

 Amy Shriner
  aka Amy Elizabeth Shriner                        Chapter 7
  aka Amy E Peters

 Debtor(s).                                        Judge Russ Kendig

                                                   NOTICE OF MOTION FOR RELIEF
                                                   FROM STAY (OFFICIAL FORM 20A)

Honda Lease Trust (‘Movant’) has filed papers for Relief from the Automatic Stay with the
Court.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish
to consult with one.

If you do not want the Court to grant the Relief from the Automatic Stay, or if you want the
Court to consider your views on this motion, then on or before September 15, 2021 you or your
attorney must:

File with the Court a written request for hearing, or if the Court requires a written response, an
answer, explaining your position at:

          United States Bankruptcy Court
          Ralph Regula Federal Building and United States Courthouse
          401 McKinley Ave SW
          Canton, Ohio 44702-1745

        If you mail your request or response to the court for filing, you must mail it early enough
so the court will RECEIVE it on or before the deadline stated above. You must also mail a copy
to:
        Molly Slutsky Simons
        Counsel for Movant
        Sottile and Barile, Attorneys at Law
        394 Wards Corner Road, Suite 180
        Loveland, OH 45140




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Attend the hearing scheduled to be held on September 22, 2021 at 9:30 a.m. at the Ralph Regula
Federal Building and United States Courthouse, 401 McKinley Ave SW, Canton, Ohio 44702-
1745. The hearing may be adjourned by the Court from time to time without further notice.

If you, or your attorney, do not take these steps, the Court may decide that you do not oppose the
relief sought in the motion and may enter an order granting that relief.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Movant

                                CERTIFICATE OF SERVICE

I certify that on August 12, 2021, a true and correct copy of this Notice of Motion was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

       Rebecca J. Sremack, Debtor’s Counsel
       rebecca@sremacklaw.com

       Anthony J. DeGirolamo, Trustee
       tony@ajdlaw7-11.com

       Office of the U.S. Trustee
       (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

       Amy Shriner, Debtor
       10461 Mapleview St NW
       Canal Fulton, OH 44614
                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Attorney for Movant




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